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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


                                                )
 CHAMBER OF COMMERCE OF THE                     )
 UNITED STATES OF AMERICA, et al.,              )
                                                )
        Plaintiffs,                             )    Civil Action No. 21-cv-00410-LKG
                                                )
 v.                                             )
                                                )
 PETER FRANCHOT,                                )
                                                )
        Defendant.                              )
                                                )

                                      FINAL JUDGMENT
       On March 31, 2022 (ECF No. 67), the Court dismissed Counts I, II, and III of the first
amended complaint with prejudice for lack of jurisdiction. On December 2, 2022 (ECF No.
98), the Court dismissed the remaining claim (Count IV) of the first amended complaint
without prejudice for lack of jurisdiction.
       Pursuant to the Court’s orders dated March 31, 2022, and December 2, 2022,
respectively, Counts I, II, and III of plaintiffs’ first amended complaint are DISMISSED WITH
PREJUDICE for lack of subject matter jurisdiction, and Count IV of plaintiffs’ first amended
complaint is DISMISSED WITHOUT PREJUDICE for lack of subject matter jurisdiction.
       Final judgment is entered accordingly.
       Each party to bear its own costs.

                12/12/2022
       Dated: ________________________                  Brian Ames
                                                    By:______________________________
                                                       Deputy Clerk
